                 IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA              :
                                      :
            v.                        :         1:19CR324-1
                                      :
MICHAEL KIRK SCHON                    :


                              FACTUAL BASIS

      NOW COMES the United States of America, by and through Matthew

G.T. Martin, the United States Attorney for the Middle District of North

Carolina, and as a factual basis pursuant to Rule 11 of the Federal Rules of

Criminal Procedure states the following:

      In 2014, Michael Kirk Schon (“Schon”) was licensed as a surety bail

bondsman by the North Carolina Department of Insurance and was employed

by All American Bail Bonds, LLC, as a bail bondsman and director of

operations. All American Bail Bonds, LLC, was a limited liability corporation

organized under the laws of North Carolina and doing business writing and

issuing bail bonds with an office and place of business in Randleman, Randolph

County, North Carolina. Bankers Insurance Company was in the business of

underwriting and serving as a surety for bail bonds with an office and place of

business located in Saint Petersburg, Florida. Bankers Insurance Company




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underwrote and served as surety on bail bonds issued by All American Bail

Bonds, LLC, in the Middle District of North Carolina and elsewhere.

      The Guilford County Board of Education is organized under the laws of

the State of North Carolina for the purpose of overseeing and supervising the

operations of public education in Guilford County, North Carolina. Pursuant

to North Carolina law, the Guilford County Board of Education receives

payment on forfeited bail bonds issued to secure the appearance of defendants

charged with North Carolina state crimes in the District and Superior Courts

in Guilford County, North Carolina.

      An individual whose initials are F.S.L. was a resident of Guilford

County, in the Middle District of North Carolina, and used the alias name

“Renaildo Santiago Dominguez.” In 2012, local law enforcement authorities

arrested F.S.L. in Guilford County, North Carolina, and charged him with the

North Carolina state crimes of trafficking in cocaine, conspiracy to traffic in

cocaine, felony possession of marijuana, and maintaining a dwelling for

keeping controlled substances, all in the alias name “Renaildo Santiago

Dominguez.” F.S.L., using the alias name “Renaildo Santiago Dominguez,”

was held in the Guilford County Jail under conditions of release requiring

F.S.L. to post a secured bail bond in the amount of $250,000.00 in order to

obtain pretrial release.



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        On October 8, 2013, Bankers Insurance Company, with All American

Bail Bonds, LLC, as agent, issued and stood as surety for a $250,000.00 secured

bail bond to allow F.S.L., in the alias name “Renaildo Santiago Dominguez,” to

be released from custody pending his appearance for trial in Superior Court in

Guilford County, North Carolina. However, F.S.L. failed to appear on October

14, 2013, in Guilford County Superior Court and as a result the bail bond

issued by Banker’s Insurance Company was declared forfeited on October 29,

2013.

        On March 26, 2014, the Guilford County Board of Education and

Banker’s Insurance Company, through Schon as its authorized agent, entered

into a settlement agreement by which Banker’s Insurance Company agreed to

pay the Guilford County Board of Education the amount of $250,000.00 on the

forfeited bond pursuant to the following schedule: $80,000.00 due on March 28,

2014; $30,000.00 due on June 30, 2014; $30,000.00 due on September 30, 2014;

and $110,000.00 due on December 30, 2014.          The settlement agreement

between the Guilford County Board of Education and Banker’s Insurance

Company provided that all scheduled payments would be waived if: first, F.S.L.

died prior to the due date of any payment; and second, the Guilford County

Board of Education was provided with a death certificate for F.S.L. Bankers

Insurance Company made the first scheduled payment of $80,000.00.



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      From on or about March 28, 2014, to on or about August 16, 2016, in the

County of Guilford, in the Middle District of North Carolina, and elsewhere,

Schon did devise and intend to devise a scheme and artifice to defraud the

Guilford County Board of Education of approximately $170,000.00 through

material false pretenses, representations, and promises, by inducing, and

attempting to induce, the Guilford County Board of Education to forgive and

waive $170,000.00 of payments due from Banker’s Insurance Company on the

forfeited bail bond issued to secure the appearance of F.S.L. by obtaining and

procuring a forged and false death certificate purporting to show that F.S.L.

had died in the Mexico in May of 2014 and providing this forged and false death

certificate to the Guilford County Board of Education, for the purpose of falsely

and fraudulently representing that F.S.L. had died in the Mexico in May of

2014, such scheme and artifice to defraud making use of the United States mail

and interstate wire communications.

      An individual whose initials are C.F. was employed by as a bail

bondsman licensed by the North Carolina Department of Insurance and

working under the direction of Schon. As part of the scheme and artifice to

defraud, Schon instructed C.F. to obtain and procure a forged and false death

certificate purporting to show that F.S.L. had died in Mexico in May of 2014

and provided C.F. with information on how to find an individual who resided

in Wilson, Nash County, North Carolina, who could provide the forged and

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false death certificate. Schon also provided C.F. with F.S.L.’s name, personal

information, and place of residence in Mexico to provide to the person

producing the forged and false death certificate. He further instructed C.F. to

send the forged and false death certificate to him by express mail. C.F.

procured and obtained the forged and false death certificate in the name of

F.S.L. and mailed it to Schon pursuant to the instructions given him.

      The false death certificate showed that F.S.L. had died on May 12, 2014

in Sinaloa, Mexico. However, F.S.L. was not dead and was alive. Schon scanned

the forged and false death certificate in the name of F.S.L. and transmitted it

by email communication to the attorneys representing the Guilford County

Board of Education for the purpose of falsely inducing the Guilford County

Board of Education to cancel and waive the remaining $170,000 in payments

due under the settlement agreement between the Guilford County Board of

Education and Banker’s Insurance Company. He also personally delivered the

“original” of the forged and false death certificate to the attorneys representing

the Guilford County Board of Education upon being informed by such attorneys

that the further payments due under the settlement agreement would be

waived and cancelled upon inspection of an original copy of the death

certificate. Schon also falsely represented to Banker’s Insurance Company

that F.S.L had in fact died.



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      Guilford County Board of Education, in reliance on the forged and false

death certificate and the false representations of Schon that F.S.L had died,

prepared and filed with the Clerk of Superior Court for Guilford County a

satisfaction of judgment due to the purported death of F.S.L., such satisfaction

of judgment cancelling $170,000 in payments due under the settlement

agreement from Banker’s Insurance Company. The attorney for the Guilford

County Board of Education mailed a copy of the satisfaction of the judgement

from Greensboro, North Carolina, by United States Mail to Banker’s Insurance

Company, at Post Office Box 15707, Saint Petersburg, Florida. Such mailing

was knowingly caused by the false representations made by Schon with the

intention of causing the Guilford County Board of Education to waive all

further payments due under the forfeited bond.

      This, the 5th day of August, 2019.

                                    Respectfully submitted,

                                    MATTHEW G.T. MARTIN
                                    UNITED STATES ATTORNEY

                                    /S/ FRANK J. CHUT, JR.
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MICHAEL KIRK SCHON                       :


                          CERTIFICATE OF SERVICE

      I hereby certify that on August 5, 2019, the foregoing was electronically

filed with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to the following:

Bruce A. Lee, Esq.

                                      Respectfully submitted,


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